                      Case 5:13-cr-00003-WTM-RSB Document 163 Filed 11/30/15 Page 1 of 5

                                                                                                                                          FILED
GAS 245D              (Rev. 09/11) Judgment in a Criminal Case for Revocations
                                                                                                                                  U.S. DISTRICT COURT
                      Sheet I                                                                                                        SAVA.NAH DIV.
                                                                                                                                 2I5NOV25 AMIJ:33
                                              UNITED STATES DISTRICT COURT
                                                           SOUTHERN DISTRICT OF GEORGIA
                                                                WAYCROSS DIVISION

               UNITED STATES OF AMERICA                                          )       JUDGMENT IN A CRIMINAL CASE
                                                                                 )       (For Revocation of Probation or Supervised Release)
                                       V.                                        )



                                                                                 )



                                  Justin Deen                                    )       Case Number:              5:13CR00003-3
                                                                                 )


                                                                                 )       USM Number:               17912-021
                                                                                 )
                                                                                         Johnny W. Brantley
                                                                                         Defendant's Attorney
THE DEFENDANT:
      admitted guilt to violation of mandatory, standard, and special conditions of the term of supervision.
D was found in violation of condition(s)                                                        after denial of guilt.

The defendant is adjudicated guilty of these violations:

      Violation Number                 Nature of Violation                                                                             Violation Ended

                                       The defendant failed to refrain from unlawful use of a controlled substance                      March 31, 2014
                                       (mandatory condition).

                                       The defendant failed to refrain from unlawful use of a controlled substance                       June 30, 2014
                                       (mandatory condition).

        The defendant is sentenced as provided in pages 3 through . j_ of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
0 The defendant has not violated condition(s)                                                         and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                 November 23, 2015
Last Four Digits of Defendant's Soc. Sec. No: 9290                               Date of Imposition of Judgment



Defendant's 1r of Bi&h: 1985
                                                                                 Signature of Judge

CityItatfDefe                     st's Residence:
         '—'

                                  tL
NJJlrGeorgia                                                                     William T. Moore, Jr.
      JEM CD
                                                                                 Judge. U.S. District Court
 LA            _
               C)
                                                                                 Name and Title of Judge

               (.tD
               —

               c::iW
               c.4
                            C-)                                                  Date
                Case 5:13-cr-00003-WTM-RSB Document 163 Filed 11/30/15 Page 2 of 5

GAS 245D        (Rev. 09/11) Judgment in a Criminal Case for Revocations


                                                                                                            Judgment— Page 2 of 5
DEFENDANT:             Justin Deen
CASE NUMBER:           5:13CR00003-3


                                                    ADDITIONAL VIOLATIONS
  Violation Number            Nature of Violation                                                                   Violation Ended

           3                  The defendant failed to refrain from unlawful use of a controlled substance           August 19,2014
                              (mandatory condition).

           4                  The defendant failed to refrain from unlawful use of a controlled substance         November 28, 2014
                              (mandatory condition).

           5                  The defendant failed to abide by the imposed curfew (special condition).              February 9, 2015

           6                  The defendant failed to refrain from unlawful use of a controlled substance           January 16, 2015
                              (mandatory condition).

           7                  The defendant failed to abide by the imposed curfew (special condition).             February 22, 2015

           8                  The defendant failed to refrain from unlawful use of a controlled substance          February 21, 2015
                              (mandatory condition).

           9                  The defendant failed to refrain from unlawful use of a controlled substance            March 30, 2015
                              (mandatory condition).

           10                 The defendant failed to refrain from unlawful use of a controlled substance              July 8, 2015
                              (mandatory condition).

           11                 The defendant possessed, used, or attempted to use a device to impede or                July 10, 2015
                              evade drug testing (standard condition).

           12                 The defendant failed to remain at the New Hope Recovery Center until                    July 10, 2015
                              granted approval for release by the probation officer (special condition).

           13                 The defendant failed to perform community service (special condition).               September 5, 2015

           14                 The defendant failed to pay a fine or restitution obligation in accordance           September 5, 2015
                              with the schedule of payments set forth by the Court (mandatory condition).
                    Case 5:13-cr-00003-WTM-RSB Document 163 Filed 11/30/15 Page 3 of 5

GAS 245D            (Rev. 09/11) Judgment in a Criminal Case for Revocations


                                                                                                                   Judgment— Page 3 of 5
DEFENDANT:                 Justin Deen
CASE NUMBER:               5: 13CR00003-3


                                                                  IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: 13 months. It is recommended that the defendant receive credit for time served since the date of his arrest on the warrant in
this case.




           The court makes the following recommendations to the Bureau of Prisons:
           It is recommended that the defendant be designated to the federal facility in Jesup, Georgia.




           The defendant is remanded to the custody of the United States Marshal.

     El    The defendant shall surrender to the United States Marshal for this district:

          El   at                                   El         a.m.     El     p.m. on

          El   as notified by the United States Marshal.

     El    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          El   before 2 p.m. on

          El    as notified by the United States Marshal.

          0     as notified by the Probation or Pretrial Services Office.


                                                                          RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                              to

at                                                         with a certified copy of this judgment.


                                                                                                        UNITED STATES MARSHAL



                                                                                 By
                                                                                                     DEPUTY UNITED STATES MARSHAL
                 Case 5:13-cr-00003-WTM-RSB Document 163 Filed 11/30/15 Page 4 of 5

GAS 245D          (Rev. 09/11) Judgment in a Criminal Case for Revocations


                                                                                                                          Judgment— Page 4 of S
DEFENDANT:               Justin Deen
CASE NUMBER:             5:13CR00003-3




                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                               Fine                                  Restitution
TOTALS                                                                                                              $ 28,348


Li     The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

Z      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
       victims must be paid before the United States is paid.

Name of Payee                                 Total Loss*                            Restitution Ordered                       Priority or Percentage

VA Debt Management Center                                                                   $ 28,348                                   100%
RE: File Number 26745426
Bishop Henry Whipple
Federal Building
P.O. Box 11930
St. Paul, Minnesota, 55111-0930




TOTALS                                                                                      $28,348                                    100%

El     Restitution amount ordered pursuant to plea agreement $

Li     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           the interest requirement is waived for              Li      fine             restitution.
      Li the interest requirement for              Li      fine      Li       restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 1 13A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                 Case 5:13-cr-00003-WTM-RSB Document 163 Filed 11/30/15 Page 5 of 5

GAS 245D          (Rev. 09/11) Judgment in a Criminal Case for Revocations


                                                                                                                           Judgment— Page 5 of 5
DEFENDANT:                 Justin Deen
CASE NUMBER:               5:13CR00003-3



                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    Li Lump sum payment of $                                    due immediately, balance due

           E not later than                                             or
           Li in accordance              Li C, [I]          D Li             E, or    Li     F below; or
B Z Payment to begin immediately (may be combined with                               Li C,      Li D, or       Li F below); or
C    Li Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                           (e.g., months or years), to commence                      _ (e.g., 30 or 60 days) after the date of this judgment; or

D    Li Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or
E    Li Payment during the term of supervised release will commence within                       (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F    Li Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

Pursuant to 18 U.S.C. § 3572(d)(3), the defendant shall notify the Court of any material change in the defendant's economic circumstances
that might affect the defendant's ability to pay the fine.


The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Li     Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
       corresponding payee, if appropriate.




El     The defendant shall pay the cost of prosecution.
Li     The defendant shall pay the following court cost(s):
Li     The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
